                  THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

BENJAMIN GEORGE,                 )
                                 )
                    Plaintiff,   )                    Case No. 20 CV 6911
v.                               )
                                 )
CITY OF CHICAGO, JAMES GARDINER )                     Judge John Robert Blakey
CHARLES SIKANICH, CHICAGO POLICE )
OFFICERS SOLOMON ING, PETER      )                    Magistrate Judge Beth Jantz
PALKA, DANIEL SMITH, BILOS,      )
JOSEPH FERRARA, SERGIO CORONA,   )
ORTIZ, AND UNKNOWN CHICAGO       )
POLICE OFFICERS,                 )
                                 )
                    Defendants.  )

                     AGREED CONFIDENTIALITY ORDER

      The parties to this Agreed Confidentiality Protective Order have agreed to the

terms of this Order; accordingly, it is ORDERED:

      1.     Scope. All materials produced or adduced in the course of discovery,

including initial disclosures, responses to discovery requests, deposition testimony

and exhibits, and information derived directly therefrom (hereinafter collectively

“documents”), shall be subject to this Order concerning Confidential Information as

defined below. This Order is subject to the Local Rules of this District and the Federal

Rules of Civil Procedure on matters of procedure and calculation of time periods.

      2.     Confidential Information.         As used in this Order, “Confidential

Information” means information designated as “CONFIDENTIAL-SUBJECT TO

PROTECTIVE ORDER” by the producing party that falls within one or more of the

following categories: (a) information protected from disclosure by statute, including



                                           1
the Illinois Freedom of Information Act (FOIA), 5 ILCS 140/1, et seq.; (b) information

that reveals trade secrets; (c) research, technical, commercial or financial information

that the party has maintained as confidential; (d) medical information concerning

any individual; (e) personal identity information; (f) income tax returns (including

attached schedules and forms), W-2 forms and 1099 forms; (g) personnel or

employment records of a person who is not a party to this case; (h) employment,

disciplinary, or other information that is of a sensitive or non-public nature regarding

plaintiffs, defendants, non-party witnesses, non-party employees of the City of

Chicago. Such information includes, but is not limited to, private information in

personnel files, such as employment applications, performance evaluations, tax

forms, requests for medical leave and the like as well as personal and family

information of police officers and state’s attorneys, including residential information;

and (i) any information contained within the following file materials that are

otherwise prohibited from public disclosure by statute:

      Any disciplinary actions, files and attachments to such files generated by the

investigation of deaths in custody, uses of deadly force, and complaints of misconduct

by Chicago police officers (generally referred to as “Log Number” files, “Complaint

Register” (CR) files, “Universal” (U) files, or “Extraordinary Occurrence” (EO) files,

or “Non-Disciplinary Intervention” (NDI) files) (collectively hereinafter referred to as

“Log Files”), or by internal Chicago Police Department “Summary Punishment Action

Requests” (SPARs).     The parties reserve the right to seek greater protection of

information or documents designated as Confidential Information through Court




                                           2
intervention or by agreement of the parties.

      3.     Designation.

             (a)    A party may designate a document as Confidential Information

for protection under this Order by placing or affixing the words “CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER” on the document and on all copies in a manner

that will not interfere with the legibility of the document. As used in this Order,

“copies” includes electronic images, duplicates, extracts, summaries or descriptions

that contain the Confidential Information.       The marking “CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER” shall be applied prior to or as soon as

practicable after the documents are produced or disclosed. Applying the marking

“CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” to a document does not

mean that the document has any status or protection by statute or otherwise except

to the extent and for the purposes of this Order. Any copies that are made of any

documents marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” shall

also be so marked, except that indices, electronic databases or lists of documents that

do not contain substantial portions or images of the text of marked documents and do

not otherwise disclose the substance of the Confidential Information are not required

to be marked.

             (b)    The designation of a document as Confidential Information is a

certification by an attorney or a party appearing pro se that the document contains

Confidential Information as defined in this order.




                                          3
      4.     Depositions. Deposition testimony, including exhibits, is protected by

this Order only if designated as "CONFIDENTIAL - SUBJECT TO PROTECTIVE

ORDER" on the record at the time the testimony is taken. Such designation shall be

specific as to the portions that contain Confidential Information. Deposition

testimony or exhibits so designated shall be treated as Confidential Information

protected by this Order. Within fourteen days after delivery of the transcript, a

designating party may serve a Notice of Designation to all parties of record

identifying additional specific portions of the transcript or exhibits that are

designated Confidential Information, and thereafter those additional portions

identified in the Notice of Designation shall also be protected under the terms of this

Order. The failure to serve a timely Notice of Designation waives any designation of

additional deposition testimony or exhibits as Confidential Information, unless

otherwise ordered by the Court.

      5.     Protection of Confidential Material.

             (a)    General Protections. Confidential Information shall not be

used or disclosed by the parties, counsel for the parties or any other persons identified

in subparagraph (b) for any purpose whatsoever other than in this litigation,

including any appeal thereof.

             (b)    Limited Third-Party Disclosures. The parties and counsel for

the parties shall not disclose or permit the disclosure of any Confidential Information

to any third person or entity except as set-forth in subparagraphs (1)-(10). Subject to




                                           4
these requirements, the following categories of persons may be allowed to review

Confidential Information:

                  (1)       Counsel. Counsel for the parties and employees of counsel
                            who have responsibility for the preparation and trial of the
                            action;

                  (2)       Parties. Individual parties and employees and insurance
                            carriers of a party but only to the extent counsel
                            determines in good faith that the employee’s assistance is
                            reasonably necessary to the conduct of the litigation in
                            which the information is disclosed or, in the case of
                            insurance carriers, that the actual or alleged coverage or
                            contract with the insurance carrier(s) pertains, may
                            pertain, or allegedly pertains to the litigation;

                  (3)       The Court and its personnel;

                  (4)       Court Reporters and Recorders. Court reporters and
                            recorders engaged for depositions;

                  (5)       Contractors. Those persons specifically engaged for the
                            limited purpose of making copies of documents or
                            organizing or processing documents, including outside
                            vendors hired to process electronically stored documents;

                  (6)       Consultants and Experts. Consultants, investigators, or
                            experts employed by the parties or counsel for the parties
                            to assist in the preparation and trial of this action but only
                            after such persons have completed the certification
                            contained in Attachment A, Acknowledgment of
                            Understanding and Agreement to Be Bound;

                  (7)       Witnesses at depositions. During their depositions,
                            witnesses in this action to whom disclosure is reasonably
                            necessary. Witnesses shall not retain a copy of documents
                            containing Confidential Information, except witnesses may
                            receive a copy of all exhibits marked at their depositions in
                            connection with review of the transcripts. Pages of
                            transcribed deposition testimony or exhibits to depositions
                            that are designated as Confidential Information pursuant
                            to the process set out in this Order must be separately
                            bound by the court reporter and may not be disclosed to
                            anyone except as permitted under this Order.



                                            5
                   (8)     Author or recipient. The author or recipient of the
                           document (not including the person who received the
                           document in the course of the litigation);

                   (9)     Individuals interviewed in the course of litigation.
                           Individuals interviewed as part of a party’s investigation
                           in this litigation for whom disclosure is reasonably
                           necessary for the purpose of that investigation. The only
                           Confidential Information that may be disclosed to these
                           individuals is information that is reasonably necessary to
                           disclose for the purpose of investigation in this litigation
                           and such information may be disclosed only after such
                           persons have completed the certification contained in
                           Attachment B, Acknowledgment of Understanding and
                           Agreement to Be Bound. Such individuals may not retain
                           any copy, including but not limited to electronic or physical
                           duplications, of any documents or other materials
                           containing Confidential Information; and

                   (10)    Others by Consent. Other persons only by written
                           consent of the producing party or upon order of the Court
                           and on such conditions as may be agreed or ordered.

             (c)   Control of Documents. Counsel for the parties shall make

reasonable efforts to prevent unauthorized or inadvertent disclosure of Confidential

Information. Counsel shall maintain the originals of the forms signed by persons

acknowledging their obligations under this Order for a period of three years after the

termination of the case.

      6.     Redaction of Personal Identifying Information. Notwithstanding

the foregoing provisions, the responding party shall have the right to redact from all

documents produced in discovery social security numbers, dates of birth, and

information covered by the Juvenile Court Act, as well as, for security reasons, all

references to a current or former individual police officer’s confidential information

about him/herself and his/her family, including but not limited to, social security




                                           6
number, home address, home and cellular telephone number(s), personal email

address(es), the names of family members and the names of insurance beneficiaries.

      7.     Inadvertent Failure to Designate.            An inadvertent failure to

designate a document as Confidential Information does not, standing alone, waive

the right to so designate the document; provided, however, that a failure to serve a

timely Notice of Designation of deposition testimony as required by this Order, even

if inadvertent, waives any protection for deposition testimony. If a party designates

a document as Confidential Information after it was initially produced, the receiving

party, on notification of the designation, must make a reasonable effort to assure that

the document is treated in accordance with the provisions of this Order. No party

shall be found to have violated this Order for failing to maintain the confidentiality

of material during a time when that material has not been designated Confidential

Information, even where the failure to so designate was inadvertent and where the

material is subsequently designated Confidential Information.

      8.     Filing of Confidential Information. This Order does not, by itself,

authorize the filing of any document under seal. Any party wishing to file a document

designated as Confidential Information in connection with a motion, brief or other

submission to the Court must comply with Local Rule 26.2.

      9.     No Greater Protection of Specific Documents; Conferral.

Except on privilege grounds not addressed by this Order, no party may withhold

information from discovery on the ground that it requires protection greater than

that afforded by this Order unless the party moves for an order providing such special




                                          7
protection. Prior to moving the Court for special protection of given documents, the

parties will meet and confer regarding any potential elevated designation of a

document or portion of documents, and agree that any such elevated designations

may be made by agreement while appropriate.

      10.    Challenges     by   a   Party    to     Designation   as   Confidential

Information.       The designation of any material or document as Confidential

Information is subject to challenge by any party. The following procedure shall apply

to any such challenge.

             (a)     Meet and Confer.       A party challenging the designation of

Confidential Information must do so in good faith and must begin the process by

conferring directly with counsel for the designating party.        In conferring, the

challenging party must explain the basis for its belief that the confidentiality

designation was not proper and must give the designating party an opportunity to

review the designated material, to reconsider the designation, and, if no change in

designation is offered, to explain the basis for the designation. The designating party

must respond to the challenge within five (5) business days.

             (b)     Judicial Intervention.        A party that elects to challenge a

confidentiality designation may file and serve a motion that identifies the challenged

material and sets forth in detail the basis for the challenge. Each such motion must

be accompanied by a competent declaration that affirms that the movant has

complied with the meet and confer requirements of this procedure. The burden of

persuasion in any such challenge proceeding shall be on the designating party. Until




                                          8
the Court rules on the challenge, all parties shall continue to treat the materials as

Confidential Information under the terms of this Order.

       11.    Action by the Court. Applications to the Court for an order relating

to materials or documents designated Confidential Information shall be by motion.

Nothing in this Order or any action or agreement of a party under this Order limits

the Court’s power to make orders concerning the disclosure of documents produced in

discovery or at trial.

       12.    Use of Confidential Information at Trial. Nothing in this Order

shall be construed to affect the admissibility of any document, material, or

information at any trial or hearing.     A party that intends to present or which

anticipates that another party may present Confidential Information at a hearing or

trial shall bring that issue to the Court’s and parties’ attention by motion or in a

pretrial memorandum without disclosing the Confidential Information. The Court

may thereafter make such orders as are necessary to govern the use of such

documents or information at trial.

       13.    Confidential Information Subpoenaed or Ordered Produced in

Other Litigation.

              (a)    If a receiving party is served with a subpoena or an order issued

in other litigation that would compel disclosure of any material or document

designated in this action as Confidential Information, the receiving party must so

notify the designating party, in writing, immediately and in no event more than three




                                           9
court days after receiving the subpoena or order. Such notification must include a

copy of the subpoena or court order.

             (b)    The receiving party also must immediately inform in writing the

party who caused the subpoena or order to issue in the other litigation that some or

all of the material covered by the subpoena or order is the subject of this Order. In

addition, the receiving party must deliver a copy of this Order promptly to the party

in the other action that caused the subpoena to issue.

             (c)    The purpose of imposing these duties is to alert the interested

persons to the existence of this Order and to afford the designating party in this case

an opportunity to try to protect its Confidential Information in the court from which

the subpoena or order issued. The designating party shall bear the burden and the

expense of seeking protection in that court of its Confidential Information, and

nothing in these provisions should be construed as authorizing a receiving party in

this action to disobey a lawful directive from another court. The obligations set forth

in this Paragraph remain in effect while the party has in its possession, custody or

control Confidential Information by the other party to this case.

      14.    Challenges by Members of the Public to Sealing Orders. A party

or interested member of the public has a right to challenge the sealing of particular

documents that have been filed under seal, and the party asserting confidentiality

will have the burden of demonstrating the propriety of filing under seal.




                                          10
      15.    Obligations on Conclusion of Litigation.

             (a)     Order Continues in Force. Unless otherwise agreed or ordered,

this Order shall remain in force after dismissal or entry of final judgment not subject

to further appeal.

             (b)     Obligations at Conclusion of Litigation. Within sixty-three

days after dismissal or entry of final judgment not subject to further appeal, all

Confidential Information and documents marked “CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER” shall be returned to the producing party unless: (1) the

document has been offered into evidence or filed without restriction as to disclosure;

(2) the parties agree to destruction in lieu of return; or (3) as to documents bearing

the notations, summations, or other mental impressions of the receiving party, that

party elects to destroy the documents and certifies to the producing party that it has

done so.

             (c)     Retention of Work Product and one set of Filed Documents.

Notwithstanding the above requirements to return or destroy documents, counsel

may retain (1) attorney work product, including an index that refers or relates to

designated Confidential Information so long as that work product does not duplicate

verbatim substantial portions of Confidential Information, and (2) one complete set

of all documents filed with the Court including those filed under seal. Any retained

Confidential Information shall continue to be protected under this Order.           An

attorney may use his or her work product in subsequent litigation, provided that its

use does not disclose or use Confidential Information.




                                          11
             (d)   Deletion of Documents filed under Seal from Electronic

Case Filing (ECF) System. Filings under seal shall be deleted from the ECF

system only upon order of the Court.

       16.   Order Subject to Modification.          This Order shall be subject to

modification by the Court on its own initiative or on motion of a party or any other

person with standing concerning the subject matter.

       17.   No Prior Judicial Determination. This Order is entered based on

the representations and agreements of the parties and for the purpose of facilitating

discovery. Nothing herein shall be construed or presented as a judicial determination

that any document or material designated Confidential Information by counsel or the

parties is entitled to protection under Rule 26(c) of the Federal Rules of Civil

Procedure or otherwise until such time as the Court may rule on a specific document

or issue.

       18.   Persons Bound. This Order shall take effect when entered and shall

be binding upon all counsel of record and their law firms, the parties, and persons

made subject to this Order by its terms.

So Ordered.

Dated: September 20, 2022                       Entered:


                                                ____________________________
                                                John Robert Blakey
                                                United States District Judge




                                           12
                                 ATTACHMENT A

                 THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

BENJAMIN GEORGE,                 )
                                 )
                    Plaintiff,   )                  Case No. 20 CV 6911
v.                               )
                                 )
CITY OF CHICAGO, JAMES GARDINER )                   Judge John Robert Blakey
CHARLES SIKANICH, CHICAGO POLICE )
OFFICERS SOLOMON ING, PETER      )                  Magistrate Judge Beth Jantz
PALKA, DANIEL SMITH, BILOS,      )
JOSEPH FERRARA, SERGIO CORONA,   )
ORTIZ, AND UNKNOWN CHICAGO       )
POLICE OFFICERS,                 )
                                 )
                    Defendants.  )


          ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

      The   undersigned     hereby   acknowledges    that   he/she   has   read   the

Confidentiality Order dated September 20, 2022 in the above-captioned action and

attached hereto, understands the terms thereof, and agrees to be bound by its terms.

The undersigned submits to the jurisdiction of the United States District Court for

the Northern District of Illinois in matters relating to the Confidentiality Order and

understands that the terms of the Confidentiality Order obligate him/her to use

materials designated as Confidential Information in accordance with the Order solely

for the purposes of the above-captioned action, and not to disclose any such

Confidential Information to any other person, firm or concern.
      The undersigned acknowledges that violation of the Confidentiality Order may

result in penalties for contempt of court.

      Name:

      Job Title:

      Employer:

      Business
      Address:




Date: ___________________               Signature:
                                ATTACHMENT B

                 THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

BENJAMIN GEORGE,                 )
                                 )
                    Plaintiff,   )                  Case No. 20 CV 6911
v.                               )
                                 )
CITY OF CHICAGO, JAMES GARDINER )                   Judge John Robert Blakey
CHARLES SIKANICH, CHICAGO POLICE )
OFFICERS SOLOMON ING, PETER      )                  Magistrate Judge Beth Jantz
PALKA, DANIEL SMITH, BILOS,      )
JOSEPH FERRARA, SERGIO CORONA,   )
ORTIZ, AND UNKNOWN CHICAGO       )
POLICE OFFICERS,                 )
                                 )
                    Defendants.  )


           ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

      1.     The undersigned hereby acknowledges (a) that the terms of the

Confidentiality Order dated September 20, 2022 in the above-captioned action and

attached hereto have been described and explained to him/her, (b) that he/she

understands those terms, and (c) that he/she agrees to be bound by its terms.

      2.     The undersigned understands that the terms of the Confidentiality

Order obligate him/her to keep Confidential Information confidential in accordance

with the Order solely for the purposes of the above-captioned action.

      3.     The undersigned understands and agrees to keep Confidential

Information in strict confidence. The undersigned understands that he/she is not to

disclose or share any Confidential Information to or with any person or entity. The
undersigned further understands that he/she is specifically prohibited from

disclosing or sharing any Confidential Information to any person or entity in any

manner whatsoever, including, but not limited to, orally, in writing, or any other

method of communication.

      4.     The undersigned acknowledges that violation of the Confidentiality

Order may result in penalties for contempt of court.

      Name:

      Address:



      Telephone Number:

Date: ___________________              Signature:
